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                                                                                     2023 Nov-22 AM 10:09
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ALABAMA EASTERN
                                   DIVISION


 FEDERAL INSURANCE COMPANY,
 PACIFIC EMPLOYERS INSURANCE                    Case No. 1:23-CV-01367-RDP
 COMPANY, ACE AMERICAN
 INSURANCE COMPANY, ACE                         DEFENDANT GREAT AMERICAN
 PROPERTY AND CASUALTY                          INSURANCE COMPANY’S ANSWER
 INSURANCE COMPANY, INDEMNITY                   AND AFFIRMATIVE DEFENSES TO
 INSURANCE COMPANY OF NORTH                     COMPLAINT FOR DECLARATORY
 AMERICA, and WESTCHESTER FIRE                  JUDGMENT
 INSURANCE COMPANY,

                   Plaintiffs,

 v.

 SHAW INDUSTRIES, INC.,

 Defendant,

 and

 GREAT AMERICAN INSURANCE
 COMPANY, COMMERCE & INDUSTRY
 INSURANCE COMPANY; FIREMAN’S
 FUND INSURANCE COMPANY; FIRST
 STATE INSURANCE COMPANY;
 EMPLOYERS MUTUAL LIABILITY
 INSURANCE COMPANY; U.S. FIRE
 INSURANCE COMPANY; TRAVELERS
 CASUALTY AND SURETY COMPANY;
 WESTPORT INSURANCE
 CORPORATION f/k/a PURITAN
 INSURANCE COMPANY; JOHN DOE
 INSURERS 1-100;

              Nominal Defendants.


       Great American Insurance Company (“GAIC”) hereby answers the complaint of Federal

Insurance Company, Pacific Employers Insurance Company, Ace American Insurance Company,



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Ace Property and Casualty Insurance Company, Indemnity Insurance Company of North America,

and Westchester Fire Insurance Company (collectively, “Plaintiffs”).

I.      INTRODUCTION1

        1.       Paragraph 1 is a statement of Plaintiffs’ claim for relief to which no response is

required. To the extent a response is deemed required, GAIC refers to the policies themselves

for their complete terms and conditions and denies all allegations in Paragraph 1 to the extent

inconsistent therewith.

        2.       The allegations in Paragraph 2 are declaratory statements and/or state legal

conclusions to which no response from GAIC is required. To the extent a response is deemed

required, GAIC admits that certain governmental entities have asserted claims and brought suits

against Shaw and others as a result of alleged environmental contaminates, including the two

lawsuits identified in Paragraph 2.

        3.       Admitted.

II.     THE PARTIES

        4.       The allegations in Paragraph 4 do not appear to be directed at GAIC and therefore

no response from GAIC is required. To the extent a response is deemed required, GAIC lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 4, and on that basis, denies them.

        5.       The allegations in Paragraph 5 do not appear to be directed at GAIC and therefore

no response from GAIC is required. To the extent a response is deemed required, GAIC lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in



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         For ease of reference, GAIC is incorporating the headings used by Plaintiffs in their Complaint.
References to these headings are not an admission of their truth by GAIC. To the extent these headings are deemed
to contain allegations to which responses are required, GAIC denies them.

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Paragraph 5, and on that basis, denies them.

       6.      The allegations in Paragraph 6 do not appear to be directed at GAIC and therefore

no response from GAIC is required. To the extent a response is deemed required, GAIC lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 6, and on that basis, denies them.

       7.      The allegations in Paragraph 7 do not appear to be directed at GAIC and therefore

no response from GAIC is required. To the extent a response is deemed required, GAIC lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 7, and on that basis, denies them.

       8.      The allegations in Paragraph 8 do not appear to be directed at GAIC and therefore

no response from GAIC is required. To the extent a response is deemed required, GAIC lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 8, and on that basis, denies them.

       9.      The allegations in Paragraph 9 do not appear to be directed at GAIC and therefore

no response from GAIC is required. To the extent a response is deemed required, GAIC lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 9, and on that basis, denies them.

       10.     The allegations in Paragraph 10 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,

GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 10, and on that basis, denies them.

       11.     The allegations in Paragraph 11 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,



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GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 11, and on that basis, denies them.

       12.     The allegations in Paragraph 12 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,

GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 12, and on that basis, denies them.

       13.     The allegations in Paragraph 13 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,

GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 13, and on that basis, denies them.

       14.     The allegations in Paragraph 14 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,

GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 14, and on that basis, denies them.

       15.     Admitted.

       16.     The allegations in Paragraph 16 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,

GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 16, and on that basis, denies them.

       17.     The allegations in Paragraph 17 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,

GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 17, and on that basis, denies them.



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       18.     The allegations in Paragraph 18 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,

GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 18, and on that basis, denies them.

       19.     The allegations in Paragraph 19 do not appear to be directed at GAIC and

therefore no response from GAIC is required. To the extent a response is deemed required,

GAIC lacks knowledge or information sufficient to form a belief as to the truth of the allegations

in Paragraph 19, and on that basis, denies them.

III.   JURISDICTION & VENUE

       20.     GAIC admits that the Court has original jurisdiction over declaratory judgment

proceedings.

       21.     GAIC admits that there is complete diversity of citizenship between the Plaintiff

and the Defendants as required under 28 U.S.C § 1332(a).

       22.     GAIC admits this Court has jurisdiction over this matter and that this case

presents an actual controversy.

       23.     GAIC consents to personal jurisdiction in this Court for purposes of this action.

       24.     The allegations in Paragraph 24 are declaratory statements and/or state legal

conclusions to which no response is required.

       25.     GAIC admits that venue is proper.

IV.    FACTS AND BACKGROUND

       A.      SHAW CARPETING

       26.     Admitted.

       27.     Admitted.



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        28.    Admitted.

        B.     SHAW’S PFAS USE

        29.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 29, and on that basis, denies them.

        30.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 30, and on that basis, denies them.

        31.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 31, and on that basis, denies them.

        32.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 32, and on that basis, denies them.

        33.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 33, and on that basis, denies them.

        34.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 34, and on that basis, denies them.

        35.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 35, and on that basis, denies them.

        36.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 36, and on that basis, denies them.

        37.    GAIC admits that perfluoroalkyl and polyfluoroalkyl substances are commonly

referred to by the acronym PFAS. Great American lacks knowledge or information sufficient to

for a belief as to the truth of the remaining allegations in Paragraph 37, and on that basis, denies

them.

        38.    GAIC lacks knowledge or information sufficient to form a belief as to the truth of



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the allegations in Paragraph 38, and on that basis, denies them.

       C.      THE LAND APPLICATION SYSTEM AND SHAW’S WASTE DISPOSAL
               PRACTICES

       39.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 39, and on that basis, denies them.

       40.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 40, and on that basis, denies them.

       41.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 41, and on that basis, denies them.

       42.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 42, and on that basis, denies them.

       43.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 43, and on that basis, denies them.

       44.     Admitted.

       45.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 45, and on that basis, denies them.

       D.      THE UNDERLYING ACTIONS

                 i.   Facts Relevant to All Underlying Actions

       46.     Admitted.

       47.     Admitted.

       48.     Admitted.

       49.     Admitted.

       50.     Admitted.




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                 ii.   The Settled Underlying Actions

       51.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 51, and on that basis, denies them.

       52.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 52, and on that basis, denies them.

       53.     Admitted.

       54.     Admitted.

       55.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 55, and on that basis, denies them.

       56.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 56, and on that basis, denies them.

       57.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 57, and on that basis, denies them.

       58.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 58, and on that basis, denies them.

       59.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 59, and on that basis, denies them.

       60.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 60, and on that basis, denies them.

       61.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 61, and on that basis, denies them.

       62.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 62, and on that basis, denies them.



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       63.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 63, and on that basis, denies them.

       64.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 64, and on that basis, denies them.

       65.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 65, and on that basis, denies them.

                iii.   Current Pending Underlying Actions

       66.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 66, and on that basis, denies them.

       67.     Admitted.

       68.     Admitted.

       69.     Admitted.

V.     THE POLICIES ISSUED BY FEDERAL

       70.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 70 to the extent inconsistent therewith.

       71.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 71 to the extent inconsistent therewith.

       72.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 72 to the extent inconsistent therewith.

       73.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 73 to the extent inconsistent therewith.

       74.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 74 to the extent inconsistent therewith.



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       75.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 75 to the extent inconsistent therewith.

       76.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 76 to the extent inconsistent therewith.

       77.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 77 to the extent inconsistent therewith.

                  i.   Other Federal Policies

       78.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 78 to the extent inconsistent therewith.

       79.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 79 to the extent inconsistent therewith.

       80.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 80, and on that basis, denies them.

       81.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 81, and on that basis, denies them.

                 ii.   Other Policies Issued by Additional Plaintiff Insurers

       82.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 82 to the extent inconsistent therewith.

       83.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 83, and on that basis, denies them.

       84.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 84, and on that basis, denies them.




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VI.    POLICIES ISSUED BY DEFENDANT INSURERS

       85.     GAIC refers to the policies themselves for their complete terms and conditions

and denies all allegations in Paragraph 85 to the extent inconsistent therewith.

       86.     GAIC admits that it issued to Shaw policy numbers. X0 2148437-00 and X0

2598445-00 (the “GAIC Policies”), the terms of which are the subject of a January 25, 2018,

stipulation. GAIC refers to the stipulation for the GAIC Policies terms and conditions and denies

all allegations in Paragraph 86 to the extent inconsistent therewith.

       87.     GAIC admits that Shaw has sought coverage from GAIC for the underlying

actions but lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 87, and on that basis, denies them.

       88.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 88, and on that basis, denies them.

       89.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 89, and on that basis, denies them.

       90.     GAIC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 90, and on that basis, denies them.

                                               COUNT I

                              (Declaratory Judgment as to Shaw)

       91.     GAIC repeats and reincorporates by reference its responses to Paragraphs 1

through 90 as though fully set forth herein.

       92.     The allegations in Count I and Paragraph 92 are not directed at GAIC and

therefore it appears that no response from GAIC is required. To the extent a response is deemed

required, GAIC lacks knowledge or information sufficient to form a belief as to the truth of the



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allegations in Paragraph 92, and on that basis, denies them.

       93.     The allegations in Count I and Paragraph 93 are not directed at GAIC and

therefore it appears that no response from GAIC is required. To the extent a response is deemed

required, GAIC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 93, and on that basis, denies them.

       94.     The allegations in Count I and Paragraph 94 are not directed at GAIC and

therefore it appears that no response from GAIC is required. To the extent a response is deemed

required, GAIC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 94, and on that basis, denies them.

       95.     The allegations in Count I and Paragraph 95 are not directed at GAIC and

therefore it appears that no response from GAIC is required. To the extent a response is deemed

required, GAIC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 95, and on that basis, denies them.

       96.     The allegations in Count I and Paragraph 96 are not directed at GAIC and

therefore it appears that no response from GAIC is required. To the extent a response is deemed

required, GAIC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 96, and on that basis, denies them.

       97.     The allegations in Count I and Paragraph 97 are not directed at GAIC and

therefore it appears that no response from GAIC is required. To the extent a response is deemed

required, GAIC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 97, and on that basis, denies them.

       98.     The allegations in Count I and Paragraph 98 are not directed at GAIC and

therefore it appears that no response from GAIC is required. To the extent a response is deemed



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required, GAIC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 98, and on that basis, denies them.

                                             COUNT II

          (In the Alternative, Declaratory Judgment as to the Defendant Insurers)

       99.       GAIC incorporates by reference its responses to Paragraph 1 through 98 as if fully

stated herein.

       100.      The allegations in Paragraph 100 state legal conclusions to which no response is

required. To the extent a response is deemed required, GAIC entered into a stipulation with

Shaw January 25, 2018, detailing the agreed upon policy terms, conditions, exclusions, limits,

and other wording of policies XO 2148437-00 and XO 2598445-00. GAIC refers to the

stipulation itself for the complete terms and conditions of the policies and denies all allegations

in Paragraph 100 to the extent inconsistent therewith. For any allegations in Paragraph 100 not

directed at GAIC, GAIC lacks knowledge and information sufficient to form a belief as to the

truth of those allegations, an on that basis, denies them.

       101.      GAIC admits that Shaw tendered the defense of the underlying actions to GAIC

and others and denies that it has a coverage obligation for the settlements of the underlying

actions. GAIC lacks knowledge or information sufficient to form a belief as to the truth of the

remainder of the allegations of Paragraph 101, and on that basis, denies them.

       102.      The allegations of Paragraph 102 contain prayers for relief and legal conclusions

to which no response is required. To the extent a response is deemed required, GAIC denies the

allegations.

       GAIC further denies that Plaintiffs are entitled to the relief from GAIC stated in the

WHEREFORE paragraphs on page 24 of Plaintiffs’ Complaint.



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                                  AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred by the

applicable statute of limitations or statues of repose, latches, waiver, unclean hands, accord and

satisfaction, release, payment, res judicata and/or estoppel.

                             SECOND AFFIRMATIVE DEFENSE

       GAIC’s obligations, if any, to its insured are defined by the terms, limitations,

definitions, conditions, declarations, endorsements and exclusions, of the policies issued by

GAIC (the “GAIC Policies”), including, without limitation, conditions precedent, limits of

liability, limits, policy periods, and notice requirements, and any such coverage obligations cease

upon the exhaustion of the applicable limits of coverage.

                              THIRD AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims are based, may be barred in whole or in part,

to the extent that the insured failed to satisfy the conditions precedent to the GAIC Policies.

                             FOURTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent liability arising out of the underlying claims did not arise from an “occurrence” as that

term is used in the GAIC Policies.

                              FIFTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the underlying claims do not involve “property damage” as that term is used in the GAIC

Policies.




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                              SIXTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the acts, conditions, events, or damages that form the bases of the underlying claims were

not fortuitous.

                            SEVENTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the underlying claims involve “property damage” that was either expected or intended

from the standpoint of the insured.

                             EIGHTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the underlying claims relate to losses arising from the intentional conduct on part of the

insured.

                              NINTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the insured negligently or intentionally failed to disclose, concealed, or misrepresented

facts that were material to the risks at the time of the negotiations, underwriting, and/or issuance

of the GAIC Policies.

                              TENTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the underlying claims arise from the insured’s conduct in express disregard of its legal

obligations under state, federal, or local laws and regulations.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the



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extent coverage is sought for punitive or exemplary damages, fines, penalties, costs, or damages

that are uninsurable as a matter of public policy.

                            TWELFTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent coverage for the underlying claims is barred by one or more exclusions contained in the

GAIC Policies.

                         THIRTEENTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the insured made voluntary payments or incurred voluntary obligations without prior

approval or consent by GAIC.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the insured impaired any rights of subrogation or contribution under the GAIC Policies.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent the “property damage” alleged in the underlying claims occurred solely prior to the

inception date or solely after the end date of the GAIC Policies.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the

extent Shaw seeks coverage liability for equitable, mandatory, or injunctive relief, and not for

sums it has become legally obligated to pay as damages.

                        SEVENTEENTH AFFIRMATIVE DEFENSE

       Shaw’s claims, on which Plaintiffs’ claims against GAIC are based, may be barred to the



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extent the underlying claims involve “property damage” arising out of the discharge, dispersal,

release or escape of pollutants that was neither sudden nor accidental in nature.

                           EIGHTEENTH AFFIRMATIVE DEFENSE

        To the extent that it is determined that GAIC has no coverage obligations to Shaw for the

Underlying Actions (as defined in Plaintiffs’ Complaint for Declaratory Judgment), Plaintiffs are

entitled to nothing from GAIC.

                           NINETEENTH AFFIRMATIVE DEFENSE

        GAIC asserts all applicable defenses asserted by any of the other insurer defendants in

this action.

                            TWENTIETH AFFIRMATIVE DEFENSE

        GAIC reserves the right to assert additional defenses upon further discovery of Plaintiff’s

claims, upon discovery of the provisions, terms, conditions, and exclusions of any policy under

which Shaw is allegedly entitled to coverage, upon discovery of further information concerning

the underlying claims, and upon the development of any other pertinent information.

                                      PRAYER FOR RELIEF

        WHEREFORE, GAIC requests that judgment be entered in its favor and against

Plaintiffs as follows:

               A.        A judicial declaration that GAIC owes nothing to Shaw and therefore,

        owes nothing to Plaintiffs;

               B.        Granting judgment for GAIC; and

               C.        Awarding GAIC its reasonable attorneys’ fees and expenses, costs of suit,

                         and other such further relief that the Court deems appropriate and just.




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Dated: November 22, 2023

                            By: /s/ Edward M. Holt
                            Edward M. Holt
                            Maynard Nexsen PC
                            1906 Sixth Avenue North, Suite 1700
                            Birmingham, AL 35203
                            Tel: (205) 254-1102
                            tholt@maynardnexsen.com

                            - and -

                            Edward B. Parks, II (pro hac vice forthcoming)
                            Annette P. Rolain (pro hac vice forthcoming)
                            Ruggeri Parks Weinberg LLP
                            1875 K St. NW, Suite 600
                            Washington, DC 20006
                            Tel: (202) 974-1400
                            Fax: (202) 974-1401
                            eparks@ruggerilaw.com
                            arolain@ruggerilaw.com

                            Counsel for Defendant Great American Insurance
                            Company




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                               CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing has been served upon the following via the
CM/ECF system which will send electronic notification to counsel on November 22, 2023:

John W. Johnson, II
CHRISTIAN & SMALL, LLP
505 North 20th Street, Suite 1800
Birmingham, AL 35203
jwjohnson@csattorneys.com
Attorney for Plaintiffs

Christopher Hemphill
Michael Baughman
Cohn Baughman
525 W. Monroe Street, Suite 1500
Chicago, IL 60661
christoper.hemphill@mclolaw.com
michael.baughman@mclolaw.com
Attorneys for Plaintiffs

F. Lane Finch, Jr.
Brandon J. Clapp
Swift, Currie, McGhee & Hiers, LLP
1901 Sixth Ave. North, Suite 1100
Birmingham, AL 35203
T: (205) 314-2401
lane.finch@swiftcurrie.com
brandon.clapp@swiftcurrie.com
Attorneys for U.S. Fire Insurance Company

Joel S. Isenberg
Rob E. Norton
ELY & ISENBERG, LLC.
3500 Blue Lake Drive, Suite 345
Birmingham, AL 35243
Telephone: (205) 313-1200
Facsimile (205) 313-1201
JIsenberg@elylawllc.com
RNorton@elylawllc.com
Attorneys for Travelers Casualty and Surety Company
f/k/a The Aetna Casualty and Surety Company




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Brannon J. Buck
Christopher B. Driver
BADHAM & BUCK LLC
2001 Park Place North, Suite 500
Birmingham, AL 35203
(205) 521-0036
Fax: (205) 521-0037
bbuck@badhambuck.com
cdriver@badhambuck.com
Attorneys for Shaw Industries, Inc.

Hirshel Michael Hall
ALSTON & BIRD LLP
1201 West Peachtree Street, Suite 4900
Atlanta, GA 30309
(404) 881-7000
hirshel.hall@alston.com
Attorney for Commerce & Industry Insurance Company

Scott M Salter
STARNES DAVIS FLORIE LLP
100 Brookwood Place, 7th Floor
Birmingham, AL 35209
(205) 868-6000
Fax: (205) 868-6099
ssalter@starneslaw.com
Attorney for Firemans Fund Insurance Company



                                               /s/ Edward M. Holt
                                               OF COUNSEL




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